Case 23-50444-JTD   Doc 89-1   Filed 02/13/24   Page 1 of 7




                       Exhibit 1

                      Stipulation
Case 23-50444-JTD   Doc 89-1   Filed 02/13/24   Page 2 of 7
Case 23-50444-JTD   Doc 89-1   Filed 02/13/24   Page 3 of 7
Case 23-50444-JTD   Doc 89-1   Filed 02/13/24   Page 4 of 7
Case 23-50444-JTD   Doc 89-1   Filed 02/13/24   Page 5 of 7
Case 23-50444-JTD   Doc 89-1   Filed 02/13/24   Page 6 of 7
Case 23-50444-JTD   Doc 89-1   Filed 02/13/24   Page 7 of 7
